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 6
                                  UNITED STATES DISTRICT COURT
 7                               NOTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
 8
     UNITED STATES OF AMERICA,                                 Case No.: CR 20-059 MMC
 9
                    Plaintiff,
                                                               DEFENDANT’S SENTENCING
10                                                             MEMORANDUM AND MOTION
            vs.                                                FOR VARIANCE
11
     DAVID EDUARDO CRUZ CRUZ,
12                                                             Date: October 21, 2020
                    Defendant                                  Time: 2:15 p.m.
13                                                             Honorable Maxine M. Chesney

14          Defendant David Eduardo Cruz-Cruz respectfully submits the following sentencing

15   memorandum and motion for variance.

16          Mr. Cruz-Cruz will be before this Court on the above date and time for change plea and

17   sentencing. He will accept full responsibility for the entirety of his conduct and plead guilty to

18   Counts One through Three of Indictment (see ECF Doc 1), which charge him with knowingly

19   and intentionally conspiring to distribute and possess with the intent to distribute a mixture

20   containing methamphetamine (Count One), a mixture containing a detectable amount of cocaine

21   (Count Two) and a mixture containing a detectable amount of heroin (Count Three). Those

22   guilty pleas will be entered pursuant to the terms of a plea agreement made under Federal Rule

23   of Criminal Procedure 11(c)(1)(B), in which the parties agree on Guidelines calculation of an

24

25

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 1   adjusted offense level 17,1 and the government will recommend at the low end of the Guidelines

 2   range. The Modified Presentence Investigation Report calculates Mr. Cruz-Cruz’s Criminal

 3   History Category as II, resulting in a Guidelines range of 27-33 months.

 4           For the reasons set forth below, a sentence of 27 months would be far greater necessary

 5   to effect the purposes of federal sentencing; moreover, it would result in inappropriate disparity

 6   among similarly situated defendants, and particularly Mr. Cruz-Cruz’s co-defendant, Guillermo

 7   Hernandez-Escobar, who was sentenced to six months based on more extensive criminal

 8   conduct.

 9                                                 INTRODUCTION

10           What is clear from the entirety of the offense conduct in this case is that Mr. Cruz-Cruz’s

11   co-defendant committed more extensive criminal conduct than did Mr. Cruz-Cruz. Nonetheless,

12   the government asks this Court to hold Mr. Cruz-Cruz over four times more accountable simply

13   because he possessed more drugs on his person on the day of the arrest leading to the filed

14   charges in this case. That is not only unfair, but contravenes one of the most important tenets of

15   federal sentencing, to “avoid unwarranted sentence disparities among defendants with similar

16   records who have been found guilty of similar conduct.” (18 U.S.C. § 3553(a)(6)).

17          Moreover, the record in this case suggests that the two defendants appear to be treated

18   mathematically differently under the U.S. Sentencing Guidelines. Mr. Hernandez-Escobar’s base

19   offense level is consistent with the cocaine powder Guidelines: for possession of 7.1 grams (net)

20   of cocaine base (which would trigger a base offense level of 16) the government agreed to a base

21   offense level of 12 (which is consistent with a powder cocaine Guidelines). (See ECF Doc. 32,

22
     1
       In the Plea Agreement lodged with the Court and provided to Probation, the adjusted offense level is 21 based on a
23   base offense level of 24 and a three-point reduction for acceptance of responsibility. Based on further discussions
     regarding avoiding disparity among defendants in this case, the government is agreeing that the appropriate base
24   offense level should be 20, resulting in an adjusted offense level of 17.

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 1   United States’ Sentencing Memorandum As To Defendant Guillermo Hernandez-Escobar, p.

 2   5:2-7, fn 22). If a similar calculation was used for Mr. Cruz-Cruz, the base offense level would

 3   be 18.3 Notwithstanding the government’s recent agreement to a lower base offense level of 20

 4   for Mr. Cruz-Cruz – which assists in reducing disparity among co-defendants – Mr. Cruz-Cruz

 5   still appears to be treated differently. As a result, this Court should consider that fact when

 6   considering a downward variance.

 7         Indeed, there are persuasive reasons for the Court to vary downward to account for the

 8   national disparate treatment between crack and powder cocaine defendants. While the law

 9   originally treated 1 gram of crack cocaine as the equivalent of 100 grams of powder cocaine at

10   sentencing, it now imposes an 18:1 ratio. Neither are based on scientific or empirical research

11   on any consequential difference between powder and crack cocaine. This excessive ratio has

12   resulted in disparate sentences for minority defendants like Mr. Cruz-Cruz who represent the

13   majority of defendants convicted of crack cocaine offenses nationally.

14           The Supreme Court has made clear this Court has the authority to categorically reject the

15   Sentencing Guidelines’ disparate treatment of powder and crack cocaine and adopt whatever

16   ratio it believes is reasonable. Spears v. United States, 555 U.S. 261, 264 (2009); Kimbrough v.

17   United States, 552 U.S. 85, 91 (2007). As one district court has explained, the 18:1 ratio—like

18   the 100:1 ratio it replaced—“is unsupported by fact, law, or policy.” United States v. Gardner,

19   20 F. Supp.3d 468, 469 (S.D.N.Y. 2014). It is not alone; other courts around the country—

20   including several judges in the Northern District of California—have rejected the disparity

21   2
       The government notes that “at the time of his initial arrest, [Hernandez-Escobar] possessed 7.1 grams net of
     cocaine base. This is a sufficient drug quantity to support a Base Offense Level of 16.” (See USSG 2D1.1(c)(12),
22   assigning a BOL of 16 for between 5.6-11.2 grams of cocaine base). However, the government agreed to a base
     offense level of 12 for Mr. Hernandez-Escobar, which would be based on “less than 50 grams” of powder cocaine.
     (See USSG 2D1.1(c)(14)).
23   3
       When calculating Converted Drug Weight (“CDW”) (see USSG §2D1.1, application note 8(D)) using a 1:1 ratio
     for powder and crack cocaine, the drugs possessed by Mr. Cruz-Cruz would result in a CDW of 50.54 KG CDW,
24   consistent with a base offense level of 18. (See USSG 2D1.1(c)(11)).

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 1   between powder and crack cocaine and instead harmonized sentencing for the two forms of

 2   cocaine by either adopting a 1:1 ratio at sentencing, or granting a downward variance from the

 3   crack cocaine Sentencing Guidelines range. Mr. Cruz-Cruz requests that this Court do so here.

 4            Mr. Cruz-Cruz also asks this Court to vary downward due to his personal circumstances

 5   and history. He has been in custody since February 24, 2020, which is the longest time in

 6   custody he has ever served. Moreover, while in Santa Rita Jail, he volunteered to work in the

 7   kitchen (without pay), where he was one of a number of inmates who contracted COVID-19.

 8   Finally, given that he is here illegally and his crime of conviction is an aggravated felony under

 9   immigration law, his deportation to the violent and impoverished nation of Honduras is

10   effectively a foregone conclusion.4

11            Mr. Cruz-Cruz therefore asks this Court to exercise its authority to vary from the

12   Guideline range and impose a time served sentence of approximately eight months. Such a

13   sentence (1) takes into account the unreasonable Sentencing Guidelines disparity between crack

14   and powder cocaine, (2) ensures Mr. Cruz-Cruz is treated similarly to other defendants

15   sentenced in crack cocaine cases in the district, (3) avoids unwarranted sentencing disparity

16   between him and his arguably more culpable co-defendant, (4) is consistent with other sentences

17   handed down in recent Tenderloin drug sale cases in the District, and (5) not only accounts for

18   the additional punishment of suffering from COVID-19 transmission while in custody at Santa

19   Rita Jail but also removes him from what is demonstrably the most dangerous place to be during

20   a pandemic: a jail.

21   4
       Mr. Cruz-Cruz’s conviction under § 841 is a categorical “aggravated felony” under immigration law and he will
     be ineligible for any relief from deportation. See 8 U.S.C. § 1101(a)(43)(B) (defining “aggravated felony” in part as
22   “illicit trafficking in a controlled substance (as defined in [21 U.S.C. § 802]), including a drug trafficking crime (as
     defined in [18 U.S.C. § 924(c)])”); see also United States v. Alvarado-Pineda, 774 F.3d 1198, 1201 (9th Cir. 2014)
     (“noncitizens convicted of aggravated felonies are removable on that basis…and are ineligible for almost all forms
23   of discretionary relief.”) (citations omitted). If he decides to illegally return to the United States, he can be
     prosecuted for illegal reentry after removal under 8 U.S.C. § 1326, and subject to a harsher statutory penalty. See 8
24   U.S.C. § 1326(b)(2) (statutory maximum of 20 years for illegal reentry defendant with a prior “aggravated felony”).

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 1                     RELEVANT CASE HISTORY AND OFFENSE CONDUCT

 2           The discovery provided and documents filed in the case summarizes SFPD Officer

 3   Christina Hayes’ months’ long surveillance of Mr. Hernandez-Escobar dealing drugs in the

 4   Tenderloin. (See ECF Doc 32-2, filed 8/5/20, Exhibit A to Declaration of Marja-Liisa Overbeck

 5   in Support of The United States’ Sentencing Memorandum for co-defendant Guillermo

 6   Hernandez Escobar, hereinafter referred to as “Ex. A,” pp. 15-19). 5

 7           After witnessing Mr. Hernandez-Escobar conduct a number of drug transactions in the

 8   Tenderloin, police obtained his identity, and address (in Oakland). (Id.). While conducting

 9   surveillance of Mr. Hernandez-Escobar, on December 11, 2019, they eventually saw an

10   unknown Hispanic male, later identified as Mr. Cruz-Cruz, who appeared to live with him.

11   They also saw Mr. Cruz-Cruz drive him from Oakland and San Francisco. Then on December

12   24, 2019, police observed Mr. Cruz-Cruz standing near Mr. Hernandez-Escobar while he

13   (Hernandez-Escobar) appeared to be conducting drug transactions. (Id. at 18). Officer Hayes

14   opined in her warrant affidavit that Mr. Cruz-Cruz was displaying “behavior consistent with

15   acting as a ‘lookout’ for Mr. Hernandez-Escobar.” (Id.). Thereafter, Officer Hayes obtained

16   arrest and search warrants for each defendant and their residence based on evidence that they

17   were engaged in a drug trafficking conspiracy. (Id. at 18-19).

18           On December 27, 2019, police conducted surveillance outside of the defendants’

19   residence. They watched Mr. Cruz-Cruz drive Mr. Hernandez-Escobar from Oakland to San

20   Francisco. When the two arrived in the Tenderloin, police executed the warrants and located

21   drugs on each defendant. While the more active drug dealer Mr. Hernandez-Escobar possessed

22   7.1 grams (net) of cocaine base, Mr. Cruz was holding significantly more, all contained in a sock

23   5
      See Exhibit A to Declaration of Marja-Liisa Overbeck in Support of The United States’ Sentencing Memorandum
     for co-defendant Guillermo Hernandez Escobar (ECF Doc 32-2, filed 8/5/20), hereinafter referred to as “Ex. A.”
24   This Exhibit contains the police reports and warrant affidavit that comprises the bulk of discovery in this case.

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 1   in his left front pocket:6 36.3 grams (gross) of cocaine base, 9 grams (gross) of

 2   methamphetamine, and 8.1 grams (gross) of heroin. Thereafter, police searched their residence,

 3   which appeared to house two other males as well. There they found $14687 and packaging

 4   materials in Mr. Hernandez-Escobar’s room, and 8.2 grams (gross) of methamphetamine in Mr.

 5   Cruz-Cruz’s room. These drugs are the basis for the charges in the Indictment, and do not

 6   account for any of Mr. Hernandez-Escobar’s earlier (or subsequent) conduct.

 7           On February 11, 2020, a grand jury indicted the defendants, who were thereafter arrested

 8   on the federal warrant in the following weeks. As noted by the government in its earlier

 9   sentencing memorandum, when Mr. Hernandez-Escobar was arrested, he possessed additional

10   drugs on his person: 31.76 grams of methamphetamine, 30.9 grams of heroin, and 40.4 grams of

11   cocaine base. This arrest alone yielded a more significant quantity of drugs for Guidelines

12   purposes than those alleged in all of the filed charges against Mr. Cruz-Cruz. Yet none of that is

13   considered as “relevant conduct” for Mr. Hernandez-Escobar. Nonetheless, the government

14   insists that a sentence of 27 months – over four times as long as the sentence handed down to

15   Mr. Hernandez-Escobar – is reasonable and appropriate for Mr. Cruz-Cruz.

16                         PERSONAL HISTORY AND CHARACTERISTICS

17           David Eduardo Cruz-Cruz is one of the many Central American – and particularly

18   Honduran – defendants that have appeared before this Court in the government’s dozens of

19   F.I.T. cases. Like many others, he fled abject poverty and violence to not only seek a better life

20   in the U.S., but be in a position to help his family financially.

21           Mr. Cruz-Cruz was born in the small rural village of El Escanito, Honduras. His parents

22   were never married and his father left when he was about two or three months old. He has three

23   6
       Perhaps this was the “stash” that Hernandez-Escobar had Mr. Cruz-Cruz hold while Hernandez-Escobar engaged
     in the transactions.
24   7
       This was the only money found in the apartment.

25

26   DEFENDANT’S SENTENCING MEMORANDUM AND MOTION FOR VARIANCE                                                      6
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 1   siblings, all of whom grew up in a small one-room home without electricity and with running

 2   water that was turned on only every few days. His mother, who did odd jobs including baking

 3   and selling bread, was often only able to provide one meal per day; as a result, the family often

 4   went hungry.

 5            Mr. Cruz-Cruz and his siblings would often help their mother by working. Mr. Cruz-

 6   Cruz eventually had to stop going to school to work. Moreover, his mother began having health

 7   issues (including migraines and depression) that required regular medication, which she often

 8   could not afford. Meanwhile, the situation in Honduras continually got worse,8 including

 9   increasing violence and gang wars, poverty, and corruption. Mr. Cruz-Cruz felt he needed to

10   leave home to find work and a better life, and thereby help support his family and pay for his

11   mother’s medical needs. The entirety of his family remains in Honduras.

12            He made the treacherous journey through Guatemala and Mexico, including riding the

13   notoriously dangerous freight train call “La Bestia.”9 The poor migrants who travel this route,

14   especially those who ride La Bestia, are notoriously vulnerable to extortion and violence from

15   gangs and other organized crime groups. Like so many others in a similar position, Mr. Cruz-

16   Cruz describes the threats, robberies, rapes, and violence that occurred, as well as dealing with

17   hunger and environmental conditions, such as extreme heat and cold. He also became indebted

18   to a ring of “coyotes” in order to cross the border. Those individuals knew of family both in the

19

20
     8
       According to the U.S. Agency for International Development (hereinafter “USAID”): “Honduras remains one of
     the poorest countries in Latin America. Approximately 60 percent of the country’s population lives in poverty and
     23 percent of children suffer from stunting as a result of chronic malnutrition.” See USAID – What We Do – Food
21   Assistance Fact Sheet – Honduras (Sept. 30, 2019), at https://www.usaid.gov/honduras/food-assistance (August 4,
     2020).
22   9
       “Migrants riding La Bestia are likely to be some of the poorest, as the costs of riding the train (bribes, gang tariffs,
     etc.) still are cheaper than paying a smuggler to organize and facilitate the journey.” See Rodrigo Dominguez
     Villegas, Migration Policy Institute, Central American Migrants and “La Bestia”: The Route, Dangers, and
23   Government Responses, Sept. 10, 2014, available at https://www.migrationpolicy.org/article/central-american-
     migrants-and-“la-bestia”-route-dangersand-
24   government-responses (last accessed April 30, 2020).

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26   DEFENDANT’S SENTENCING MEMORANDUM AND MOTION FOR VARIANCE                                                                7
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 1   U.S. and in Honduras and therefore the threat of violence against them required that Mr. Cruz-

 2   Cruz satisfy this costly financial obligation.

 3              After crossing the border, Mr. Cruz-Cruz lived in various states and cities, as well as in

 4   Canada. He moved to find opportunity and work. Give his undocumented status, he had to find

 5   whatever employment was available. This usually involved manual labor, often in construction,

 6   on an inconsistent basis. Nevertheless, he was usually able to find enough work to not only

 7   support himself, but also to send money to his family back home, including the mother of his

 8   children. After paying for his rent, food, and other expenses, he would often send $300-400 per

 9   month to Honduras; when he could not find much work, he would still usually send $100 or

10   more to them. This allowed his mother to buy her medication and assisted the family with

11   others living expenses.

12              Mr. Cruz-Cruz has been in a relationship with Glenda Quiroz for a number of years.

13   They have three children, two of whom live with Ms. Quiroz in Denver, CO and one of whom

14   lives with her mother in Honduras. When Ms. Quiroz came to the U.S. about three years ago,

15   she brought their oldest child, Zoami, who was thought to be strong enough to make the journey,

16   while leaving their then youngest (1 year old at the time) with her mother in Honduras. Ms.

17   Quiroz was admitted to the U.S. on an asylum petition and has been living with her uncle in

18   Denver. Mr. Cruz-Cruz and Ms. Quiroz also have a third child, one-year-old Iraiza, who was

19   born in the U.S. and resides with Ms. Quiroz. While Mr. Cruz-Cruz and Ms. Quiroz’s

20   relationship has been on and off again, the two are close and the plan was for Mr. Cruz-Cruz to

21   move to live with her in Denver prior to his arrest in this case.10 She confirms that he is a good

22   father who has always been financially and emotionally supportive of her and their children,

23   including regularly sending her money in Honduras while he was in the U.S.

24   10
          Mr. Quiroz remains supportive of Mr. Cruz-Cruz and agreed to act as a surety for Mr. Cruz-Cruz’s release.

25

26   DEFENDANT’S SENTENCING MEMORANDUM AND MOTION FOR VARIANCE                                                        8
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 1          Unfortunately, like many others, Mr. Cruz-Cruz could not always find work. He regrets

 2   his decision to commit the crimes herein, but did so to support himself and attempt to help his

 3   family. He accepts full responsibility for these transgressions.

 4                                SENTENCING CONSIDERATIONS

 5          In determining a reasonable and appropriate sentence, the Court must consider those

 6   factors set forth in 18 U.S.C. 3553(a), including the nature and circumstances of the offense and

 7   the history and characteristics of the defendant. The Guidelines are advisory, Gall v. United

 8   States, 552 U.S. 38, 46-47 (2007), and there is no presumption in favor of a Guidelines’

 9   calculation. (Nelson v. United States, 555 U.S. 350, 352 (2009) (citation omitted) (“Our cases do

10   not allow a sentencing court to presume that a sentence within the applicable Guidelines range is

11   reasonable. In Rita we said as much, in fairly explicit terms: “‘[T]he sentencing court does not

12   enjoy the benefit of a legal presumption that the Guidelines sentence should apply.’”). The

13   District Court is thus not required to use a formulaic approach to produce a mathematical

14   justification for a non-Guidelines sentence. (Gall, 128 S.Ct at 596.). Rather, it must exercise a

15   “reasoned sentencing judgment, resting upon an effort to filter the Guidelines’ general advice

16   through § 3553(a)’s list of factors. (Rita v. United States, 127 S. Ct. 2456, 2469 (2007).). In

17   short, the District Court’s duty is to impose the least amount of time necessary to achieve

18   3553(a)’s purposes. The Guidelines are subordinate to that duty.

19      A. This Court should reject the crack cocaine Guidelines and apply a 1:1 ratio

20          Under Kimbrough and Spears, this Court has the power to reject the Guidelines’

21   disparate treatment of crack and powder cocaine as it ultimately appears happened for his Mr.

22   Cruz-Cruz’s codefendant, and adopt an alternative ratio it deems reasonable. Mr. Cruz-Cruz

23   asks this Court to vary downward and effectively adopt a 1:1 ratio.

24

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26   DEFENDANT’S SENTENCING MEMORANDUM AND MOTION FOR VARIANCE                                           9
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 1         Even before the FSA decreased the disparity between crack and powder cocaine sentences,

 2   many district courts rejected the 100:1 ratio and instead adopted parity for cocaine offenses.

 3   (See e.g., United States v. Whigham, 754 F. Supp. 2d 239, 246 (D. Mass. 2010); United States v.

 4   Greer, 699 F. Supp. 2d 876, 880 (E.D. Tex. 2010); United States v. Henderson, 660 F. Supp. 2d

 5   751, 754 (E.D. La. 2009); United States v. Lewis, 623 F. Supp. 2d 42, 43 (D.D.C. 2009); see

 6   also United States v. Peterson, 2013 WL 2181104, *1 (D.S.D. 2013) (unpublished); United

 7   States v. Williams, 2010 WL 1325229, *8 (S.D. Ill. 2010) (unpublished); United States v.

 8   Medina, 2009 WL 2948325, *1 (S.D. Cal. 2009) (unpublished)). That includes Judge Wilken

 9   here in the Northern District of California. (See United States v. Gardner, CR 09-203-CW).

10         The leading pre-FSA decision adopting a 1:1 ratio is United States v. Gully, 619 F. Supp.

11   2d 633 (N.D. Iowa 2009). Judge Bennett noted the Supreme Court’s finding in Kimbrough that

12   the Guidelines’ disparate treatment of crack and powder cocaine was not due to empirical

13   analysis but instead “is the result of congressional mandates that interfere with and undermine

14   the work of the Sentencing Commission.” (Id. at 641). He examined how the Commission had

15   found that the assumptions about the harmfulness of crack cocaine, like the increased violence

16   associated with the drug, were not in fact supported by later research and data. (Id.). The court

17   noted that the disparity punished low-level crack cocaine dealers more harshly than major

18   powder cocaine traffickers, and had a disproportionate effect on African American defendants,

19   which leads to disrespect for and lack of confidence in the criminal justice system. (Id.). Judge

20   Bennett believed that even if there were concerns about crack offenses involving weapons or

21   violence, those harms could be addressed in specific cases when they arose, rather than by a

22   categorical assumption that those risks are present in, and require heightened Guideline ranges,

23   for every crack cocaine offense. (Id.).

24

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 1            As Judge Bennet noted after passage of the FSA, Congress and the Sentencing

 2   Commission did not remedy any of these problems, and the “‘new’ 18:1 guidelines still suffer

 3   from most or all of the same injustices that plagued the 100:1 guidelines.” (Williams, 788 F.

 4   Supp. 2d at 892). Like the 100:1 ratio, the FSA’s 18:1 ratio was not based on specific findings

 5   supported by empirical study and research. Rather, it was “a political compromise having no

 6   empirical rationale” between those who favored the complete elimination of the crack/powder

 7   disparity and those who believed that crack offenses should continue to be punished more

 8   severely than powder offenses. (Gardner, 20 F. Supp. 3d at 471). Unsupported by new

 9   findings, research or data, the post-FSA 18:1 ratio perpetuates the same harms present in the

10   100:1 ratio.

11          While this District now has more crack cocaine cases on its docket as a result of the

12   “Federal Initiative in the Tenderloin,” the government has failed to provide any empirical

13   rationale or justification for why this renewed attention to crack cocaine supports the 18:1 ratio.

14   Crack cocaine did not change chemically. Nor can it be due to an increase in violent crime,

15   because San Francisco’s violent crime rate has dropped the last two years before the “Federal

16   Initiative in the Tenderloin” operation.11

17           In sum, the government has not presented “a single scintilla of medical, chemical,

18   physiological, or other scientific or social science evidence to support its position” for the 18:1

19   ratio. (Williams, 788 F. Supp. 2d at 851). The better approach is to adopt a 1:1 ratio in every

20   crack cocaine case and to enhance sentences for individual defendants whose offenses actually

21   involved firearms, bodily injury or other dangerous conduct. (See Gully, 619 F. Supp. 2d at

22   11
       See Wilson Walker, “San Francisco talks fear and frustration despite falling crime rates,” CBS SF Bay Area, Aug.
     21, 2019, (“According to San Francisco Police Department data, crime is down in San Francisco, and it’s been
23   declining for at least a year and a half. Homicides in San Francisco are flirting with a 50 year low, and violent crime
     categories were not only down last year, they are down again, so far, this year.”), available at
     https://sanfrancisco.cbslocal.com/2019/08/21/san-francisco-crime-at-lowest-level-in-decades-officials-say/.
24

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 1   644). This Court should therefore reject the 18:1 ratio when sentencing Mr. Cruz-Cruz and vary

 2   downward. It would not be the first to do so nationally, or locally. (See, e.g., Gardner, 20 F.

 3   Supp. 3d at 473; Shull, 793 F. Supp. 2d at 1064; Williams, 788 F. Supp. 2d at 851; see also

 4   United States v. Cousin, 2012 WL 6015817, *5 (W.D. Penn. Dec. 1, 2012)). Nor would it be the

 5   first to do so in the Northern District. (See United States v. Lambert, 18-149-YGR (N.D. Cal.)

 6   (granting a variance from the crack cocaine Guideline range because there is scientific evidence

 7   to justify the 18:1 ration); see also United States v. Henry, CR 15-460-JD (N.D. Cal.) (agreeing

 8   with the policy objection to treating crack cocaine or cocaine base as anything other than a 1-to-

 9   1 ratio to avoid unwarranted disparity).

10       B. The Court should ensure non-disparate results between Mr. Cruz-Cruz and his co-
            defendant, as well as others similarly situated
11
             As is clear from the discovery in the case, and as summarized by the government in its
12
     sentencing memorandum for Mr. Hernandez-Escobar, the evidence shows that Mr. Hernandez-
13
     Escobar was consistently engaged in drug dealing in the Tenderloin over the course of many
14
     months. Indeed, SFPD’s own warrant affidavit paints a picture of an actively engaged drug
15
     dealer who used Mr. Cruz-Cruz as a lookout, a driver, and perhaps as a stash holder. All
16
     accounts show Mr. Hernandez-Escobar as the more active of the two. It is therefore not
17
     surprising that all of the money found in the defendants’ residence was in Mr. Hernandez-
18
     Escobar’s room. Moreover, his co-defendant’s arrest on the federal warrant – and possession of
19
     more drugs than is involved in this case – further justifies a variance to avoid inappropriate
20
     disparity.
21
             While the Court must avoid unwarranted sentencing disparities among defendants with
22
     similar records convicted of similar conduct, the Ninth Circuit has explained sentencing courts
23
     must also “avoid ‘unwarranted similarities among [defendants] who were not similarly
24

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 1   situated.’” United States v. Amezcua-Vasquez, 567 F.3d 1050, 1058 (9th Cir. 2009) (quoting

 2   Gall, 552 U.S. at 55 (emphasis and brackets in original)); see also 18 U.S.C. § 3553(a)(6).

 3           A time served sentence of approximately eight months avoids unwarranted similarities

 4   with defendants who are higher up the drug distribution chain, are armed or use threats of

 5   violence while selling drugs. A time served sentence would avoid unwarranted disparity with

 6   his co-defendant, as well as other defendants sentenced for similar drug dealing in the

 7   Tenderloin. Numerous defendants have received significant sentencing variances, including

 8   time served sentences, even before the COVID-19 pandemic. The current public health crisis –

 9   and Mr. Cruz-Cruz’s transmission of the virus – only heightens the urgency and propriety of

10   releasing Mr. Cruz-Cruz from prison immediately.

11

12    Name                  Case No.    Drug             CHC   USSG    Sentence    Priors
                                                               Range
      Wilson Acosta-Valle   19-560-VC   Crack, heroin    II    8-14    111 days    Federal drug case
13
      Santos Aguilar        19-454-VC   Heroin, meth     II    15-21   152 days    Illegal reentry
      Brayan Arteaga        19-426-     Crack            II    8-14    37 days
14
                            WHO
      Wilfredo Cabrera      19-452-     Heroin           II    8-14    132 days    4 year drug
15
                            WHO                                                    sentence; 6 deports
      Welbur Cardona-       19-541-     Heroin, crack    III   24-30   12 months   2 illegal entries
16
      Navarro               WHO                                        + 1 day
      Yerlyn Cruz-Ortiz     19-453-SI   Crack            V     21-27   15 mo       On supervised
17                                                                                 release for illegal
                                                                                   reentry
18    Ronny Dixson          19-527-     Heroin           III   18-24   12 months   8 drug felonies,
                            WHO                                        + 1 day     including sales
19    Jesus Flores          19-429-SI   Cocaine,         I     10-16   118 days    2 deports
                                        heroin, meth
20    Ismael Martinez       19-650-RS   Crack, meth      I     0-6     48 days
      David Medina-         20-26-RS    Crack            III   10-16   83 days
21    Guerrero
      Pedro Muncia          19-428-     Heroin, crack,   II    8-14    126 days    Federal drug case,
22                          CRB         meth                                       deport
      Jose Ramos-Varela     19-713-     Meth             I     10-16   57 days
23                          EMC
      Anival Ramos-         19-503-     Heroin, crack    I     6-12    111 days
24

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 1    Velasquez            EMC
      Aaron Servellon      19-689-RS    Crack, heroin,   I     12-18      102 days
 2                                      meth, fentanyl
      Ristir Trejo         19-535-RS    Fentanyl,        II    21-27      140 days
 3                                      crack, heroin
      Luis Vargas-Valle    19-386-RS    Crack            II    8-14       6 months     32 month illegal
 4                                                                                     reentry sentence
      Kelier Velasquez-    19-483-      Crack            I     6-12       125 days
 5    Jossel               EMC
      Marco Velasquez-     19-456-      Crack            I     6-12       120 days
 6    Trinidad             WHO
      Corey Wyatt          19-396-RS    Alprazolam       VI    6-12       99 days      Involuntary
 7                                                                                     manslaughter,
                                                                                       assault with deadly
                                                                                       weapon
 8
      Arnulfo Estrada      19-546-      95 bindles of    I     18-24      3.5 months
                           CRB          crack (13.9g),
 9
                                        11g meth, 6.1g
                                        heroin
10    Aaron Servellon      19-689-RS    64g crack,       I     12-18      3.25
                                        38.7g meth,                       months
11                                      28g fentanyl,
                                        42g heroin
12    Seth Carus           19-305-RS    Significant      I     37-46      Diversion
                                        amount of              (likely)
13                                      fentanyl
      Delmar Rosales-      19-536-VC    Fentanyl         III   15-21      193 days     Felony accessory
14    Avila

15
        C. The Guidelines, fail to take into account the punitive nature of serving prison time
16         during a global pandemic and transmitting a deadly virus as a result
17           Mr. Cruz-Cruz has been housed at the Santa Rita Jail continuously since his arrest in

18   February of 2020. Since March of 2020, as the Court is well aware, the jail has been in a state

19   of continuous lockdown due to the COVID-19 pandemic. Programming and visitation have

20   ceased. Quarantines and 23-hour lockdowns are a regular occurrence. The fear of COVID-19

21   infection is constant. Most importantly, Mr. Cruz-Cruz was one of the unlucky inmates who

22   transmitted the virus, which appears to have occurred as a result of him volunteering to work

23   while in custody.

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 1           Mr. Cruz-Cruz was placed in isolation/quarantine, and tested positive for COVID-19 in

 2   July, 2020. He experienced difficulty breathing, aches and pains, and lost significant weight due

 3   to the illness. Moreover, the fact that he contracted, and apparently recovered from, the virus

 4   does not mean that he does not remain at risk: as this Court observed, “the scientific community

 5   has not, as of this date, determined whether a prior infection produces immunity or affects the

 6   severity of any potential subsequent infection.” (See United States v. Schaffer, No. 13-cr-0020

 7   MMC, ECF Doc. 40 at 2 (June 24, 2020)). Indeed, that concern of potential reinfection has now

 8   been proven.12 Moreover, as is well known – and illustrated in this case – inmates are at a three

 9   times higher risk of contracting the virus.13 Even if Mr. Cruz-Cruz does become re-infected, it

10   has been widely reported that patients in recovery from COVID-19 may suffer from persistent

11   symptoms, including respiratory distress, for months to years.14 Here, even if the Court were to

12   sentence Mr. Cruz-Cruz to “time served,” he is almost certain to be transferred to the custody of

13   immigration authorities for weeks to months prior to removal. The longer he remains in custody,

14   the greater the risk to his health.

15           To put it plainly, the Sentencing Guidelines were not drafted to take into account

16   contracting a deadly virus in the middle of a pandemic. Nor did they consider the significantly

17   diminished quality of life of, and increased fear for, an inmate serving time during a pandemic.

18   While the outside world struggles to manage life in the face of rising infection rates, the picture

19   is even grimmer in custody. As a result, a sentence of “time served” is much more severe now

20   than it was previously. He therefore asks the Court to consider his illness and these dire

21   12
        See Man, 25, Catches Coronavirus Twice in First Such US Case, The Guardian, October 14, 2020, at
     https://www.theguardian.com/world/2020/oct/13/man-25-catches-coronavirus-twice-in-first-such-us-
22   case?CMP=Share_iOSApp_Other.
     13
        Brendan Saloner, et al., COVID-19 Cases and Deaths in Federal and State Prisons, Journal of the American
     Medical Association, Pub. Online July 8, 2020, at https://jamanetwork.com/journals/jama/fullarticle/2768249
23   (August 5, 2020).
     14
        Centers for Disease Control, Coronavirus Disease 2019, at https://www.cdc.gov/coronavirus/2019-
24   ncov/hcp/faq.html (August 5, 2020).

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 1   circumstances, when considering a downward variance and the appropriate sentence in this

 2   case.

 3      D. Mr. Cruz-Cruz’s personal circumstances warrant a downward variance

 4           Mr. Cruz-Cruz’s personal history and circumstances also warrant a variance. He was

 5   born impoverished in a country that has been experiencing severe poverty, violence, and

 6   corruption, all of which led him to making the perilous journey north for a better life. Moreover,

 7   a primary reason for his travel to the U.S. has been a desire to assist his family financially.

 8   Since he has been here illegally and is minimally educated, employment options are limited.

 9   While none of this justifies his commission of these crimes, it nonetheless provides mitigating

10   context that is appropriate for this Court to consider in imposing a sentence.

11                                             CONCLUSION

12           Given the reasons cited above, Mr. Cruz-Cruz respectfully requests that this Court

13   impose a sentence of “time served.”

14   Dated: October 15, 2020                        Respectfully Submitted:

15                                                  ____________/s/_____________
                                                    Adam Pennella
16                                                  Counsel for David Eduardo Cruz-Cruz

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26   DEFENDANT’S SENTENCING MEMORANDUM AND MOTION FOR VARIANCE                                         16
